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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA

 RAMON MCNEAL                          CASE NO.
                                       2:20−cv−07179−DSF−JC
              Plaintiff(s),
       v.                               Order to Show Cause re
 THOMAS INCHO HWANG, et al.             Dismissal for Lack of
                                        Prosecution
             Defendant(s).




      Generally, defendants must answer the complaint within 21 days after
    service or 60 days if the defendant is the United States. Fed. R. Civ. P.
    12(a)(1).
       In this case, Thomas Incho Hwang and Young He Hwang failed to plead
    or otherwise defend within the relevant time. The Court orders plaintiff to
    show cause in writing on or before October 9, 2020 why the claims against
    the non-appearing defendant(s) should not be dismissed for lack of
    prosecution. Failure to respond to this Order may result in sanctions,
    including dismissal for failure to prosecute.

      IT IS SO ORDERED.

 Date: September 25, 2020                   /s/ Dale S. Fischer
                                           Dale S. Fischer
                                           United States District Judge
